                           UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF NORTH CAROLINA
                               CHARLOTTE DIVISION
                          DOCKET NO. 3:17-cv-00422-MOC-DSC




 IN RE: CAPITAL BANK FINANCIAL CORP.                        )
 STOCKHOLDER LITIGATION                                     )                   ORDER
                                                            )
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                                                            )
                                                            )


       THIS MATTER is before the court on the parties’ Stipulation of Dismissal and Proposed

Order (#6). While the Court will enter an Order as requested by the parties, the “Stipulation of

Dismissal and Proposed Order” is problematic as it seeks relief from the Court.

       First, in the Rule 41(a)(1) Stipulation of Dismissal, the parties ask the court to enter an

Order and to retain jurisdiction to resolve any fee and expense issue that may arise in the future.

A true Rule 41(a)(1)(ii) stipulation does not contain requests for entry of an Order or decisions on

retention of jurisdiction. Indeed, when a Rule 41(a)(1)(ii) dismissal is filed, the action is

terminated.

       A voluntary dismissal under Rule 41(a)(1)(i) is “a matter of unconditional right and
       is self-executing, i.e., it is effective at the moment the notice is filed with the clerk
       and no judicial approval is required.” In re Matthews, 395 F.3d 477, 480 (4th
       Cir.2005) (internal quotation marks omitted). A voluntary dismissal acts of if no
       action was brought at all. Id. After an action is voluntarily dismissed, the court
       “lacks authority to conduct further proceedings on the merits.” Id. at 480. “[A]
       judgment on the merits that is entered after the plaintiff has filed a proper 41(a)(1)
       notice of dismissal is indeed void.”

Jackson v. United States, 245 Fed. Appx. 258, 259 (4th Cir. 2007) (citation omitted).


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                          Second, any request for relief from the Court must be by motion, LCvR 7.1, inasmuch as

              a “Stipulation” or “Notice” does not create a trackable event in ECF that would alert the Court that

              action is required. Indeed, had it not been for alert staff, this Stipulation of Dismissal would have

              resulted in the complete termination of this case.

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                          Putting aside those problems, it is clear that the parties wish to take a voluntary dismissal

              of this action based on amicable resolution of the substantive issues, but would like the Court to

              retain jurisdiction in the event resulting fees and expenses cannot be resolved. The Court is happy

              to accommodate that request. While Jackson teaches that jurisdiction to do anything is lacking at

              this point as a Rule 41(a)(1) dismissal has been filed, the Court finds that the parties intended to

              file, as provided under LCvR 7.1, a joint Rule 41(a)(2) Motion to Dismiss and that the filing was

              not a “proper” Rule 41(a)(1) dismissal as discussed in Jackson. The Court will, therefore, deem

              the Stipulation of Dismissal to be a motion and resolve such motion as follows:



                                                              ORDER

                          IT IS, THEREFORE, ORDERED that the Stipulation of Dismissal and Proposed Order

              (#6), is DEEMED to be a Rule 41(a)(2) Motion to Dismiss, and such motion is GRANTED. The

              Stipulation of Dismissal (#6) is INCORPORATED herein by reference as if it were fully set forth

              (less the reference to Rule 41(a)(1)) and is made part of this Order. As requested by the parties,

              the Court retains the right to reopen this action to resolve any dispute as to fees or expenses that

              may arise.


Signed: August 25, 2017



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